          Case 2:13-cr-00114-TOR             ECF No. 186                filed 01/24/14               PageID.453 PageFILED
                                                                                                                      1 ofIN 1
                                                                                                                             THE
O PS 8                                                                                                                U.S. DISTRICT COURT
(5/04)                                                                                                          EASTERN DISTRICT OF WASHINGTON



                             UNITED STATES DISTRICT COURT                                                        Jan 24, 2014
                                                                                                                      SEAN F. MCAVOY, CLERK
                                                                      for
                                             Eastern District of Washington


U.S.A. vs.               Vincent Montel Rodabough                                     Docket No.                2:13CR00114-004


                                Petition for Action on Conditions of Pretrial Release

        COMES NOW, Melissa Hanson, U.S. pretrial services officer, presenting an official report upon the conduct of
defendant, Vincent Montel Rodabough, who was placed under pretrial release supervision by the Honorable Cynthia
Imbrogno, U.S. Magistrate Judge, sitting in the court at Spokane, Washington, on the 5th day of August 2013, under the
following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: On or about November 12, 2013, the defendant tested positive for methamphetamine.

Violation #2: On or about December 26, 2013, the defendant provided a drug testing sweat patch that tested positive for
methamphetamine.

                            PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                         I declare under the penalty of perjury
                                                                                         that the foregoing is true and correct.
                                                                                         Executed on:        January 24, 2014
                                                                             by          s/Melissa Hanson
                                                                                         Melissa Hanson
                                                                                         U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[9 ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other
                                                                                            Signature of Judicial Officer

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                                                                                            Date
